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 5   Attorney for Defendant
     FAUSTINO AGUAYO
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 9                               UNITED STATES DISTRICT COURT
10                          NORTHERN DISTRICT OF CALIFORNIA
11                                            –ooo–
12
      UNITED STATES OF AMERICA,
13                                                 CR. 05-118-MMC
                    Plaintiff,
14
      vs.                                          STIPULATION TO CONTINUE
15                                                 STATUS CONFERENCE; ORDER
                                                   THEREON
16    FAUSTINO AGUAYO, et al.,

17                  Defendants.

18                                             /

19          Defendant FAUSTINO AGUAYO, by and through his counsel of record
20   Randy Sue Pollock, and Assistant U.S. Attorney David Hall hereby stipulate and agree
21   that the status conference presently set for Wednesday, December 7, 2005, be continued
22   until February 22, 2006.
23          Ms. Pollock has spoken to Steve Teich, counsel for Jose Isais-Cabrera, who is
24   charged in a related prosecution that is pending before the Honorable Marilyn H. Patel.
25   Mr. Teich intends to file a Confidential Informant Motion in January 2006, the results of
26   which would be of assistance to Mr. Aguayo in this prosecution. If the motion is granted
27   by Judge Patel, AUSA Hall has no objection to providing counsel in this case with the
28   discovery. The matter before Judge Patel will not be heard until early February 2006.
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 1   Ms. Pollock has advised all counsel in this case, including AUSA David Hall, of the
 2   requested continuance and none have objected.
 3          The time period from December 7, 2005 through February 22, 2006 would be
 4   deemed excludable pursuant to 18 U.S.C. Section 3161(h)(8)(A), given that the ends of
 5   justice served by granting a continuance outweigh the best interests of the public and of
 6   the defendant in a speedy trial. Additionally, pursuant to 18 U.S.C. Section
 7   3161(h)(8)(B)(ii) given the nature of the prosecution, the volume of the evidence, the fact
 8   that wiretaps were involved as well as pending motions in a related case, it is
 9   unreasonable to expect adequate preparation for pretrial proceedings and for the trial
10   within the time limits established by the Speedy Trial Act.
11
12    Dated: December 5, 2005                   (S) Randy Sue Pollock
13                                              RANDY SUE POLLOCK
                                                Counsel for Defendant
14                                              FAUSTINO AGUAYO
                                                On Behalf Of All Defendants
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17                                             (S) David Hall
     Dated: December 5, 2005
18                                             DAVID HALL
                                               Assistant United States Attorney
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21   SO ORDERED:        December 6, 2005
                                                __________________________________
22                                              MAXINE M. CHESNEY
                                                United States District Court Judge
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